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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                              CASE NO.: 6:18-bk-05950-CCJ
                                                                                     CHAPTER 7
 RODOLFO TERRAZAS, SR,
          Debtor.
 _________________________________/
                    MOTION FOR RELIEF FROM AUTOMATIC STAY

                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
           paper without further notice or hearing unless a party in interest files a response
           within twenty one (21) days from the date set forth on the attached proof of service,
           plus an additional three days for service if any party was served by U.S. Mail.

           If you object to the relief requested in this paper, you must file a response with the
           Clerk of the Court at George C. Young Federal Courthouse, 400 W. Washington
           Street, Suite 5100, Orlando, FL 32801 and serve a copy on the movant’s attorney,
           Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL, 6409
           Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate persons
           within the time allowed. If you file and serve a response within the time permitted,
           the Court will either schedule and notify you of a hearing, or consider the response
           and grant or deny the relief requested without a hearing.

           If you do not file a response within the time permitted, the Court will consider that
           you do not oppose the relief requested in the paper, will proceed to consider the
           paper without further notice or hearing, and may grant the relief requested.


       Secured Creditor, DEUTSCHE BANK NATIONAL TRUST COMPANY as Trustee for

INDYMAC INDX MORTGAGE LOAN TRUST 2007-FLX6, MORTGAGE PASS-THROUGH

CERTIFICATES Series 2007-FLX6, by and through the undersigned counsel, hereby moves this

Court, pursuant to 11 U.S.C. § 362(d), for a modification of the automatic stay provisions for

cause, and, in support thereof, states the following:

   1. Debtor(s), Rodolfo Terrazas, Sr, filed a voluntary petition pursuant to Chapter 7 of the


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   United States Bankruptcy Code on September 27, 2018.

2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

   1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On July 3, 2007, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $260,000.00 to

   Indymac Bank, F.S.B., A Federally Chartered Savings Bank. The Mortgage was recorded

   on July 17, 2007 in Book 03472 at Pages 0904 of the Public Records of Lake County,

   Florida. The loan was transferred to Secured Creditor. True and accurate copies of

   documents establishing a perfected security interest and ability to enforce the terms of the

   Note are attached hereto as Composite Exhibit “A.” The documents include copies of the

   Note with any required indorsements, Recorded Mortgage, Assignment(s) of Mortgage,

   and any other applicable documentation supporting the right to seek a lift of the automatic

   stay and foreclose, if necessary.

5. On July 21, 2016, Debtors entered into a Loan Modification Agreement thereby

   decreasing the principal balance to $253,265.43. Per the terms of the Loan Modification

   Agreement, $74,200.00 of the principal balance was deemed as deferred principal

   balance.



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6. The Mortgage provides Secured Creditor a lien on the real property located at 163 Crepe

   Myrtle Drive, Groveland, FL 34736 in Lake County, stated in the Mortgage attached in

   Composite Exhibit “A.”

7. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since October 1, 2017. As of October 22, 2018, the total amount due was

   approximately $258,083.42.

8. The appraised value of the property is $216,505.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8). The subject

   property is also encumbered by additional liens in the amount of $2,384.47

9. Based upon the Debtor(s)’ schedules, the property is surrendered. The Trustee has not

   abandoned the property.

10. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

11. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

12. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

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       the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

       additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

       Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

       Debtor’s assets.

   13. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   14. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 23, 2018, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Rodolfo Terrazas, Sr
7762 Teal Drive
Fort Worth, TX 76137

Samuel R Pennington
Pennington Law Firm, P.A.
303 N. Texas Ave.
Tavares, FL 32778

Marie E. Henkel
3560 South Magnolia Avenue
Orlando, FL 32806

United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801
                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909
                                           By: /s/ Christopher P. Salamone
                                           Christopher P. Salamone, Esquire
                                           Florida Bar Number 75951
                                           Email: csalamone@rasflaw.com




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                  EXHIBIT “C”
           Case 6:18-bk-05950-CCJ         Doc 7    Filed 10/23/18      Page 56 of 57




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                               www.flmb.uscourts.gov

 IN RE:                                                         CASE NO.: 6:18-bk-05950-CCJ
                                                                                CHAPTER 7
 RODOLFO TERRAZAS, SR,
        Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on DEUTSCHE BANK
NATIONAL TRUST COMPANY as Trustee for INDYMAC INDX MORTGAGE LOAN
TRUST 2007-FLX6, MORTGAGE PASS-THROUGH CERTIFICATES Series 2007-FLX6’s
(“Secured Creditor”) Motion for Relief from Stay (Docket No. ##). No appropriate response has
been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.


                                               1
           Case 6:18-bk-05950-CCJ          Doc 7     Filed 10/23/18    Page 57 of 57



   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
       Creditor’s interest in the following property located at 163 Crepe Myrtle Drive,
       Groveland, FL 34736 in Lake County, Florida legally described as follows:
       ALL THAT CERTAIN LAND SITUATE IN LAKE COUNTY, STATE OF
       FLORIDA VIZ: LOT 233 OF THE CASCADES OF GROVELAND-PHASE 1,
       ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT BOOK 54,
       PAGE 52 THROUGH 65, OF THE PUBLIC RECORDS OF LAKE COUNTY,
       FLORIDA.

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees costs in the amount of $531.00 are awarded for the prosecution of this
       Motion for Relief from Stay, but are not recoverable from the Debtor(s) or the Debtor(s)’
       Bankruptcy estate.


                                               ###
Attorney, Christopher P. Salamone, Esquire, is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.




                                                2
